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                                              Exhibit A
                                     Fees for Witness (continued)

               Edgewood High School of the Sacred Heart, Inc. v. City of Madison, et al
                                    Case No. 21-cv-118-wmc

                                        Witness Fees (continued)
                                             Attendance     Subsistence           Mileage
                                                                                                Total Cost
   Name, City & State of Residence                 Total            Total              Total   Each Witness
                                         Days      Cost    Days     Cost    Miles       Cost
Custodian of Records, Irwin A. and       1        40.00                     12        7.50     47.50
Robert D. Goodman Foundation
Madison, WI
Custodian of Records, Rettler            1        40.00                     220       137.50   177.50
Corporation
Stevens Point, WI
                                                                                     Subtotal 225.00
                                                                            Total from Page 293.70
                                                                            2 of Bill of Costs
                                                                                       TOTAL $518.70
